            Case 3:12-cv-02039-GAG Document 1320 Filed 08/12/19 Page 1 of 1



                                       UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF PUERTO RICO


           UNITED STATES OF AMERICA
                     Plaintiff

                        VS.                                                CASE #: 3:12-CV-2039 (GAG)

    COMMONWEALTH OF PUERTO RICO ET AL.
                     Defendant



                                                       ORDER1

       Today, US District Judge Francisco A. Besosa met in a closed door proceeding with
counsel for the parties, as well as former monitor Col. Arnaldo Claudio and his counsel,
to discuss the matters addressed in the Court’s order at Docket 1314. The minutes of said
proceeding, Misc.19-286(FAB), appear at Docket 13 thereof, and the transcript will
likewise be made part of the restricted record therein.

        The undersigned acknowledges that the parties and Col. Claudio were able to
address all matters with Judge Besosa. Further, there is a consensus understanding of the
confidentiality of all information obtained during the course of a monitor’s duties, and
that the same continues even after conclusion of said duties, as it constitutes work
product, continued settlement discussions, and protected material under the Code of
Judicial Conduct. Moreover, such information cannot be disclosed directly or indirectly
to third parties without Court authorization. This includes all information pertaining to
investigations, staff and communications with members of the court, monitor team,
parties or third persons.

      Finally, the undersigned is most appreciative of the time Judge Besosa took to
confer with the parties and Col. Claudio.

IT IS SO ORDERED.

In San Juan, Puerto Rico, this 12th day of August of 2019.

                                                                                    S/ GUSTAVO A. GELPI
                                                                                      Gustavo A. Gelpi
                                                                                      U.S. District Judge



1
    Copy of this order shall be sent to attorney Giovanni Canino, counsel for Col. Claudio.
